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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

APOLLO PAINT AND BODY, INC.,                    §
                                                §
             Plaintiff                          §      CIVIL ACTION NO. 4:19-cv-03539
                                                §
V.                                              §              JURY DEMANDED
                                                §
EVANSTON INSURANCE COMPANY                      §
                                                §
             Defendant                          §



                          DEFENDANT’S NOTICE OF REMOVAL



TO THE HONORABLE JUDGE OF SAID COURT:

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Evanston Insurance Company

(“Evanston” or “Defendant”), files this Notice of Removal to the United States District Court for

the Southern District of Texas, Houston Division, on the basis of diversity of citizenship and

amount in controversy and respectfully shows:

                                          I.
                                 FACTUAL BACKGROUND

       1.      At issue is a dispute over alleged storm damages occurring on or about August 27,

2017 to a commercial property insured under Evanston’s Policy No. MKLV13PP002093, effective

February 20, 2017 to February 20, 2018 (“the Policy”). Evanston denied the claim after its

investigation, including an inspection by found no evidence of wind or storm damage to the

insured property. Plaintiff then made a claim for alleged vandalism damage to the roof on or about

February 1, 2018. Evanston denied same.




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       2.      On August 16, 2019, Plaintiffs filed a lawsuit styled Apollo Paint & Body, Inc. v.

Evanston Insurance Company; Cause No. 201957154, in the 234th Judicial District Court of Harris

County, Texas.

       3.      Plaintiff served Evanston on August 23, 2019. Evanston answered the lawsuit on

September 16, 2019.

       4.      Defendant files this notice of removal within 30 days of receiving Plaintiff’s

pleading. See 28 U.S.C. §1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action. See id.

       5.      All pleadings, process, orders, and other filings in the state court action are attached

to this Notice as required by 28 U.S.C. §1446(a) and Local Rule 81. A copy of this Notice is also

concurrently being filed with the state court and served upon Plaintiff.

       6.      As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit “A” is an Index

of State Court Documents with attachments including all executed process, pleadings, orders, and

the docket sheet. A list of counsel is attached hereto as Exhibit “B.”

                                            II.
                                    BASIS FOR REMOVAL

       7.      Removal is proper based on diversity of citizenship under 28 U.S.C. §§1332(a),

1441(a) and 1446.


A.     There is Complete Diversity of Citizenship.

       8.      Plaintiff is a resident of Texas. See Plaintiff’s Original Pet. § IV.




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        9.      Defendant Evanston is a non-resident insurance company, incorporated under the laws

of Illinois, and having its principal place of business at 10 Parkway North, Deerfield, Illinois 60015,

and is not a citizen of of the State of Texas for diversity purposes.

        B.      The Amount In Controversy Exceeds Jurisdictional Requirements.

        10.     The amount in controversy in this case exceeds the $75,000 jurisdictional

requirement. Plaintiff’s lawsuit states that Plaintiff seeks relief over $1,000,000. Plaintiff’s

Original Pet. at ¶ 4.

        C.      Removal is Procedurally Correct.

        11.     Evanston files this notice of removal within the 30 day time period required by 28

U.S.C. § 1446(b).

        12.     Venue is proper in this District and Division under 28 U.S.C. §1446(a) because this

District and Division include the county in which the state action has been pending and because a

substantial part of the events giving rise to Plaintiff’s claims allegedly occurred in this District and

Division.

        13.     Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

        14.     Pursuant to 28 U.S.C. §1446(d), promptly after Evanston files this Notice, written

notice of the filing will be given to Plaintiff.

        15.     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice will be

promptly filed with the Clerk of the Harris County District Court after Plaintiff files this Notice.




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                                             III.
                                         CONCLUSION

          Based upon the foregoing, and other documents filed contemporaneously with this Notice

of Removal and fully incorporated herein by reference, Defendants hereby remove this case to this

Court for trial and determination.

                                             Respectfully submitted,

                                             SHEEHY WARE & PAPPAS, P.C.


                                             By: /s/ D. Christene Wood
                                                     D. Christene Wood
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                                             Telephone: 713.951.1089
                                             Facsimile: 713.951.1199

                                             Attorneys for Defendants



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 19, 2019, a true and correct copy of the foregoing
instrument was delivered to all known counsel of record, via the Court’s electronic filing system,
in accordance with the Federal Rules of Civil Procedure, and any applicable Local Rules, as
follows:

Dax O. Faubus                                       Via Electronic Service
Ada I. Ferrer
The Faubus Firm
1001 Texas Avenue, 11th Floor
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Dax-notice@faubusfirm.com
ada@faubusfirm.com

                                                    /s/ D. Christene Wood
                                                    D. Christene Wood
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